                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 1:12-cr-129-HSM-SKL
                                                        )
 v.                                                     )
                                                        )
 SARAH MCELHANNON                                       )


                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the six-count Second

 Superseding Indictment; (2) accept Defendant’s plea of guilty to Count One of the Second

 Superseding Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the

 Second Superseding Indictment; (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 517].

 Neither party filed a timely objection to the report and recommendation. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 517] pursuant

 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Second

                Superseding Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Second Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Second Superseding Indictment;



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       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, June 16, 2014 at 2:00 p.m. [EASTERN]

             before the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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